      Case 3:14-cr-00075-MCR        Document 58      Filed 10/30/14    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                            Case No. 3:14cr75/MCR

TEANDRE L. ALTMAN
____________________________/


                         ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, the plea of guilty of the Defendant,
TEANDRE L. ALTMAN, to Counts One through Three of the Indictment is hereby
ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 30th day of October, 2014.



                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
